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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Commodity Futures Trading Commission
                                                Plaintiff,
v.                                                             Case No.: 1:23−cv−01887
                                                               Honorable Manish S. Shah
Changpeng Zhao, et al.
                                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 2, 2023:


         MINUTE entry before the Honorable Manish S. Shah: Defendants' responses to
the complaint are due 7/27/23. By 7/25/23, the parties shall file a joint initial status report
that includes a proposed briefing schedule on any anticipated motions to dismiss. A
template for the Initial Status Report, setting forth the information required, may be found
at http://www.ilnd.uscourts.gov/Judges.aspx by clicking on Judge Shah's name and then
again on the link entitled 'Initial Status Conferences.' Notices mailed. (psm, )




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refer to it for additional information.

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